Case 2:19-mj-00208-MLP Document1 Filed 05/14/19 Page 1 of 26
AO 106 (Rev. 04/10) Application for a Search Warrant (Modified: WAWD 10-26-18) =|
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UNITED STATES DISTRICT COURT
for the MAY 14 2019

Western District of Washington 7 SEATTLE
6 CLERK Js, OTRICT COURT

WESTERN DISTRICT OF WASHINGTON

 

; EPUTY
In the Matter of the Search of ) BY —
(Briefly describe the property to be searched ) d
or identify the person by name and address) 5 Case No. — 0
In the Matter of the Use of a Cell-Site Simulator to )
Locate Target Telephone A )
)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Target Telephone A, See Attachment A

located in the Western District of Washington , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B, incorporated herein by reference,

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
© evidence of a crime;
Mf contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime:

CJ a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Seetion Offense Description
21 U.S.C. §§ 841, 843, 846 Violations of the Controlled Substances Act, Conspiracy

The application is based on these facts:
See Affidavit of Kevin Palermo in Support of an Application for a Search Warrant. To ensure technical compliance
with the Pen Register Statute, 18 U.S.C. §§ 3121-3127, this warrant also functions as a pen register order. See Attachment C
for AUSA Certification.
Delayed notice of 90 days (give exact ending date if more than 30 days; __ 98/12/2019 _ is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

Pursuant to Fed. R. Crim. P. 4.1, this warrant is presented: [Joy reliable electroniesfieans; or: [| telephonically recorded.

Kevin Palermo, Special Agent DEA
Printed name and title

Applicant's signature

 

© The foregoing affidavit was sworn to before me and signed in my presence, or
© The above-named agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.

Date: 05/14/2019 ee ee

#
Judge’s signature

City and state: Seattle, Washington Michelle L. Peterson, United States Magistrate Judge
Printed name and title

 

 

 

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ATTACHMENT A

This warrant for Unknown Target Telephone A authorizes the use of the
electronic investigative technique described in Attachment B only when suspect Julio
Cesar Ramirez Meneses is present.

Unless Julio Cesar Ramirez Meneses is in a public place, this warrant may be
used only when the tracking data for cellular phone Target Telephone 1 or Target
Vehicle 1 indicates Julio Cesar Ramirez Meneses is in the vicinity. Locations where the
technique may be used specifically includes, but is not limited to, 11735 SE 225th Ct,
Kent WA

Attachment A
Page |
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ATTACHMENT B

The “Target Cellular Device(s)” (TTA) is the cellular device or devices carried by
Julio Cesar Ramirez Meneses. Pursuant to an investigation of violations of 21USC § 841
and /or 21 USC § 846, this warrant authorizes the officers to whom it is directed to
identify the Target Cellular Device(s) by collecting radio signals, including the unique
identifiers, emitted by the Target Cellular Device(s) and other cellular devices in its
vicinity for a period of thirty days, during all times of day and night.

Absent further order of a court, law enforcement will make no affirmative
investigative use of any identifiers collected from cellular devices other than the Target
Cellular Device(s), except to identify the Target Cellular Device(s) and distinguish it
from the other cellular devices. Once investigators ascertain the identity of the Target
Cellular Device(s), they will end the collection, and any information collected concerning

cellular devices other than the Target Cellular Device(s) will be deleted.
This warrant does not authorize the interception of any telephone calls, text
messages, or other electronic communications, and this warrant prohibits the seizure of
any tangible property. The Court finds reasonable necessity for the use of the technique

authorized above. See 18 U.S.C. § 3103a(b)(2).
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ATTACHMENT C

Declaration

I, Vincent T. Lombardi, do declare and say:

Tam a duly appointed Assistant United States Attorney for the Western District of
Washington, and I have primary responsibility for representing the interests of the United
States herein.

To ensure technical compliance with the Pen Register Statute, 18 U.S.C.

§ § 3121-3127, this warrant also functions as a pen register order. Consistent with the
requirement for an application for a pen register order, I certify that the information likely
to be obtained is relevant to an ongoing criminal investigation being conducted by DEA.
See 18 U.S.C. § § 3122(b), 3123(b).

I declare under penalty of perjury that the Application is made on the basis of
information officially furnished, and on that basis I verily believe such information to be

true.

DATED this 14th day of May, 2019.

c
”

VINCENT T. LOMBARDI
Assistant United States Attorney

 
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AFFIDAVIT OF KEVIN PALERMO

STATE OF WASHINGTON )
) SS
COUNTY OF KING )

I, KEVIN PALERMO, a Special Agent with the Drug Enforcement Administration,
Seattle, Washington, having been duly sworn, state as follows:
I. AFFIANT BACKGROUND

1, Tam employed as a Special Agent (SA) with the United States Drug
Enforcement Administration (DEA), and have been so employed since August 2016. I
am currently assigned to the Seattle Field Division. In this capacity, I investigate
violations of the Controlled Substance Act, Title 21, United States Code, Section 801 et
seq., and related offenses. I have received specialized training in the enforcement and
investigation of the Controlled Substance Act. I have received over 620 hours of
classroom training including, but not limited to, drug identification, drug interdiction,
detection, money laundering techniques and schemes, smuggling, and the investigation of
individuals and/or organizations involved in the illegal possession, possession for sale,
sales, importation, smuggling, cultivation, manufacturing, and illicit trafficking of
controlled substances. Prior to becoming a Special Agent with the DEA, I was employed
as a Police Officer in the Village of Lincolnshire in Lake County, Illinois, from
December 2014 to August 2016. In that capacity, I was responsible for providing and
promoting public safety in the Village of Lincolnshire and the State of Illinois by
maintaining order, responding to emergencies, protecting people and property, and
enforcing criminal and motor vehicle laws. During this time, I was involved in
investigations of criminal offenses including, but not limited to, narcotics, identity theft,
burglary, fraud, DUI, theft, and domestic violence.

oe In my role as a Special Agent for the Drug Enforcement Administration. J
have participated in narcotics investigations (i.e. heroin, cocaine, marijuana, and

methamphetamine) which have resulted in the arrest of individuals and the seizure of

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illicit narcotics and/or narcotic-related evidence and the forfeiture of narcotics related
assets. [ have been involved in the service of search warrants as part of these
investigations. Because of my experience in serving these search warrants, I have
encountered and have become familiar with various tools, methods, trends, paraphernalia
and related articles utilized by various traffickers in their efforts to import, conceal, and
distribute controlled substances. I am also familiar with the various methods of
packaging, delivering, transferring, and laundering drug proceeds. Additionally, through
my training and experience, I can identify illegal drugs by sight, odor, and texture.

3. I have also worked on drug investigations involving the use of court-
authorized wiretaps under Title III. In that capacity, I have had the opportunity to
monitor, listen to, and review transcripts and line sheets (prepared by linguists)
documenting the content of hundreds of intercepted conversations involving the
trafficking of cocaine, methamphetamine, heroin, and other narcotics, by persons who
used some form of code to thwart law enforcement. I have also interviewed defendants at
the time of their arrest and have debriefed, spoken with, and/or interviewed numerous
drug dealers or confidential sources (informants) at proffer and safety valve interviews
who were experienced in speaking in coded conversation over the telephone. In many of
these interviews and debriefings, I was able to speak with these drug traffickers about
specific conversations in which they were intercepted pursuant to electronic surveillance.
From these interviews, and also from discussions with other experienced Agents, I have
gained knowledge regarding the various methods, techniques, codes, and/or jargon used
by drug traffickers in the course of their criminal activities, including their use of
firearms to protect their narcotics related activities and of cellular telephones, other
electronic means to facilitate communications while avoiding law enforcement scrutiny.

4, I have written affidavits in support of court authorized federal warrants and
orders in the Western District of Washington for GPS tracking of telephones, search
warrants, and tracking of vehicles. Additionally, I have testified in grand jury

proceedings, written investigative reports, and conducted and participated in numerous

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interviews of drug traffickers of various roles within drug organizations, which has
provided me with a greater understanding of the methods by which drug trafficking
organizations operate.
Il. PURPOSE OF AFFIDAVIT

2 This affidavit supports applications to use three separate investigative
techniques, all intended to further an investigation of the suspected drug trafficking
activities of Julio Cesar Ramirez Meneses. First, I seek authorization to use an electronic
investigative technique to identify other cellular telephones believed to be used by
Ramirez Meneses to further his criminal activity. Second, I seek authorization to obtain
real-time location data of a known cellular telephone Ramirez Meneses has used to
further that same criminal activity. Lastly, I seek authorization to install and monitor a

tracking device on a vehicle used by Ramirez Meneses to further that same criminal

activity.
A. Search Warrant to Authorize Electronic Investigative Technique
6. This affidavit first supports an application for a search warrant under

Federal Rule of Criminal Procedure 41 to authorize law enforcement to employ an
electronic investigative technique, further described in Attachment B, in order to identify
the cellular phone or phones carried by Julio Cesar Ramirez Meneses (hereinafter
referred to as “Unknown Target Telephone A,” or “TTA”) described in Attachment A.

Ti This Court has authority to issue the requested warrant under Federal Rule
of Criminal Procedure Rule 41(b)(1) & (2) because Unknown Target Telephone A is
currently believed to be located inside this District. In order to obtain additional
information relating to Unknown Target Telephone A, its user, and the criminal
violations under investigation, law enforcement must first identify TTA. There is
probable cause to believe that the use of the investigative technique described by the
warrant will result in Agents learning that identifying information.

8. I believe TTA is presently being used in the Western District of

Washington in furtherance of the following federal criminal offenses: Distribution of

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Controlled Substances, in violation of 21 U.S.C. § 841(a)(1), and/or conspiracy to
commit that same offense in violation of 21 U.S.C. § 846. I believe that identification of
TTA will further the investigation of these violations.

9. This is the first application in this judicial District for a warrant authorizing
use of this electronic investigative technique in connection with this investigation.

10. Because collecting the information authorized by this warrant may fall
within the statutory definitions of a “pen register” or “trap and trace device” see 18
U.S.C. § 3127(3) & (4), this warrant is designed to comply with the Pen Register Statutes
as well as Rule 41. See 18 U.S.C. § § 3121-3127. This warrant therefore includes all the
information required to be included in a pen register order. See 18 U.S.C. § 3123(b)(1). I
know from my training and experience that a pen register is a device or process which
records or decodes dialing, routing, addressing, or signaling information transmitted by
an instrument or facility from which a wire or electronic communication is transmitted.
The information obtained from a pen register does not include the contents of any
communication. I know from my training and experience that a trap and trace device is a
device or process which captures the incoming electronic or other impulses which
identify the originating number or other dialing, routing, addressing, and signaling
information reasonably likely to identify the source of a wire or electronic
communication, provided, however, that such information does not include the contents
of any communication.

B. Search Warrant to Authorize Real-Time Location Tracking of Target
Telephone

11. This affidavit is also being submitted pursuant to Federal Rule of Criminal
Procedure 41 and 18 U.S.C. § 2703(¢)(1)(A) in support of an application for a warrant
authorizing the real-time location tracking of the following Target Telephone:

a. Target Telephone 1, with number (425) 523-2163 and IMSI
310150719065288 (hereinafter “TT1”) with service provided by AT&T. AT&T
provided “Julio Ramierez” as the subscriber for TT1 at “16256 MILITARY RD S§,

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SEATAC, WA 98188.” According to AT&T, TT1 was activated on 03/30/2019.! TT1 is
believed to be utilized by Julio Cesar Ramirez Meneses (hereinafter Ramirez Meneses)

12. As set forth below, TT1 has been used to arrange a number of controlled
buys from Ramirez Meneses, and there is probable cause to believe that Ramirez
Meneses continues to use TT1 in furtherance of the same type of criminal activity.
Authority to conduct real-time location tracking is requested not only with respect to the
Target Telephone number, but to any changed telephone number subsequently assigned
to the telephone bearing the IMSI, ESN, or IMEI number for the Target Telephone, or to
any cellular telephone bearing a different IMSI, ESN, or IMEI number but using the same
telephone number currently assigned to the Target Telephone.

C. Search Warrant to Authorize Real-Time Tracking of a Target Vehicle

13. Lastly this Affidavit is also submitted for the purpose of establishing
probable cause to support a tracking warrant authorizing the continued monitoring, as
described below, of a tracking device on the following vehicle:

a. Target Vehicle 1: A 2012 Silver Mazda 3 bearing Washington VIN
JMIBL1VG9C1507151 (also referred to herein as “TV1”), According to Washington
Department of Licensing (DOL), TV1 is registered to “G & S AUTO SALES LLC”, at
9611 Portland Ave E, Tacoma, WA.

14. Like TT1, TV1 has been used to deliver controlled substances as part of a
controlled buy, and there is probable cause that TTA, TT1 and TV1 will continue to be
used, in the Western District of Washington in furtherance of the following federal
criminal offenses: Distribution of Controlled Substances, in violation of 21 U.S.C.

§ 841(a)(1), and/or conspiracy to commit that same offense in violation of 21 U.S.C. §

846.

 

' TTI with the same listed phone number as above, was previously serviced by T-Mobile. From 03/24/2019 to
03/30/2019, the phone had an IMSI of 310260356071189. During that period, T-Mobile provided “Ulises Resendiz”
as the subscriber for TT] at "4722 SOUTHCENTER BLVD APT C203 TUKWILA WA 98188-2369". As further
explained herein, Agents believe Ramirez Meneses has been utilizing the phone while it was previously subscribed
with T-Mobile and presently subscribed with AT&T.

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15. Further, there is probable cause to believe that discovering TTA and the
tracking of TTI and TV1 will lead to evidence, fruits, and instrumentalities of the
aforementioned crimes, as well as to the identification of individuals who are engaged in
the commission of those and related crimes.

16. With respect to the vehicle tracking warrant, I request authorization to:

a. install, remove, monitor, repair, or adjust an electronic tracking
device on or within TV1 at any time of the day or night;

b. if necessary to protect the safety of persons installing, removing,
monitoring, repairing, or adjusting the electronic tracking device, or to protect the
integrity of the investigation, surreptitiously enter TV1 at any time of the day or
night, and move TV1 from one location to another for the purpose of installing,
removing, monitoring, repairing, or adjusting the device;

é. surreptitiously re-enter TV1 at any time of the day or night, for the
purpose of installing, removing, monitoring repairing, or adjusting the device; and

d. continuously monitor any and all signals emitted from the device,
including when the vehicles enter any structure or private property in which there
may be a reasonable expectation of privacy.

17. Because this affidavit is being submitted for the limited purpose of
obtaining authorization for a search warrant permitting the use of the investigative
technique targeted at TTA, and to obtain tracking warrants for TT1 and TV1, I have not
included every fact known to me concerning this investigation. Rather, I have set forth
only the facts that I believe are necessary for a fair determination of probable cause to
issue the requested warrants.

iI. SOURCES OF INFORMATION

18. [have obtained the facts set forth in this affidavit through my personal
participation in the investigation described below; from oral and written reports of other
law enforcement officers; and from records, documents and other evidence obtained

during this investigation. I have obtained and read official reports prepared by law

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enforcement officers participating in this investigation and in other investigations by the
DEA. When I refer to registration records for vehicles, I am relying on records obtained
from the Washington State Department of Licensing (DOL). Insofar as I have included
event times in this affidavit, those event times are approximate.

IV. PROBABLE CAUSE

A. First Controlled Purchase from Ramirez Meneses and State Tracking
Warrant for Ramirez Meneses’ vehicle

19. During March 2019, a confidential source (CS1) informed Agents? she/he
made contact with a new narcotics dealer named “Cesar” via phone, using telephone
number 253-981-2156. CS1 stated she/he was given telephone number, 253-981-2156,
from a known contact in Mexico. CS1 informed Agents she/he was in contact with
“Cesar” utilizing the aforementioned telephone number and during CS1’s interactions
with “Cesar”, “Cesar” instructed CS1 to call him anytime she/he needed narcotics and if
she/he needed a larger amount of narcotics to allow a few hours and he could deliver it.
As set forth below, “Cesar” was later identified as Ramirez-Meneses.

20. | CS1 was previously arrested on a state narcotics violation and is
cooperating with agents under an active cooperation agreement with the Seattle Police
Department in exchange for charging considerations. In addition to the more recent
narcotics arrest, a criminal history check revealed CS1 has a history, which includes two
felony narcotics convictions. CS1 also has arrests/convictions for obstructing a Law
Enforcement Officer (resulted in a conviction), controlled substance felony (no charges
filed), reckless burning (gross misdemeanor conviction), disorderly conduct
(misdemeanor conviction), reckless driving (gross misdemeanor conviction), driving

while license suspended (dismissed), and possession of burglary tools (citation),

 

* When I use the term “Agents” throughout the affidavit I am referring to Law Enforcement personnel, to include,
but not limited to DEA Special Agents and Task Force Officers; Seattle Police Sergeants, Detectives and Officers;
FBI Agents and Task Force Officers, Snohomish Regional Drug and Gang Task Force Detectives, etc.

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21. During that same month, CS1 met with Agents and was as instructed to
contact Cesar via cellular phone and attempt to arrange a purchase of methamphetamine.
Agents observed CS1 dialing Cesar’s cellular phone, 253-981-2156, from her/his cellular
phone and placing the call on speaker so Agents could listen. When CS1 made the call, a
male answered and began speaking; the conversation occurred in Spanish.

22, After the call ended, CS1 informed Agents that Cesar agreed to sell an
amount of methamphetamine and meet at a known spot in South King County in 35
minutes. Per policy and procedure, CS1 and her/his vehicle were searched for narcotics,
paraphernalia, currency and weapons. CS1 had currency, which was counted and secured
in an agent’s undercover vehicle. CS1 and her/his vehicle were otherwise free from the
listed items. CS1 was then given pre-recorded buy money for the controlled buy.

23, Agents followed CS1 to the meet location. Approximately 45 minutes later
Surveillance Agents advised they had observed a Hispanic male subject, late identified
via as Ramirez Meneses, walking towards to CS1’s vehicle. Agents stated Ramirez
Meneses was seen driving a dark green over gold Kia minivan bearing Oregon license
plates 218JZD. Ramirez Meneses walked directly to CS1’s vehicle and entered the front
passenger seat. Approximately 3 minutes later Ramirez Meneses exited CS1’s vehicle
and walked directly back to the listed Kia minivan.

24. Following the meet CS1 was followed to a pre-determined meet location.
Once at the meet location, CS1 handed Agents a clear plastic bag containing suspected
methamphetamine, a small bag containing suspected heroin, and the remaining pre-
recorded buy money. Agents conducted a search of CS1’s vehicle and a search of CS1’s
person for narcotics, paraphernalia, weapons and currency. CS1’s person and vehicle
were free of the listed items. CS1 explained to Agents she/he met with the individual CS1

knew as Cesar and described him as a Hispanic male, in his 30’s, medium build, dark

 

* The precise date and time of this transaction and the other controlled buys described herein are known to me.
However, those details are omitted herein to protect CS1’s identity.

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colored hair and a partial beard. CS1 was then released form the area. Agents later field
tested the methamphetamine purchased that day with positive results for
methamphetamine’.

25. Based on the above listed facts Agents completed a vehicle GPS warrant
for the Kia minivan bearing Oregon registration 218JZD. The warrant was reviewed by
King County Deputy Prosecuting attorney Margo Martin. On March 27, 2019, the
warrant was reviewed and signed by King County Superior Court Judge Marshall
Ferguson. That same evening the vehicle GPS tracker was installed on the listed vehicle
at a public place in South King County.

B. Second Controlled Purchase from Ramirez Meneses

26. Approximately one and a half weeks later during that same month CS1 met
with Agents and was as instructed to contact Cesar via cellular phone and attempt to
arrange a purchase of methamphetamine. CS1 attempted to call the number, which was
used during the first controlled buy, 253-981-2156, but received an automated recording
the number was no longer in service. CS1 then contacted her/his known source in
Mexico and asked for Caesar’s new number. CS1 was then sent a text from Mexico for
an updated number for Caesar, 425-523-2163 (TT1).

27, Similarly to the first controlled purchase, Agents observed CS1 dialing
Cesar’s cellular phone, 425-523-2163 (TT1), from her/his cellular phone and placing the
call on speaker so Agents could listen. When CS1 made the call, a male answered and
began speaking; the conversation occurred in Spanish.

28. After the call ended, CS1 informed Agents that Cesar agreed to sell an
amount of methamphetamine and meet at a known spot in South King County in 15
minutes. Per policy and procedure, CS1 and her/his vehicle were searched for narcotics,

paraphernalia, currency and weapons. CS] had currency, which was counted and secured

 

* The quantity of suspected heroin was too small to effectively field test.

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in an agent’s undercover vehicle. CS1 and her/his vehicle were otherwise free from the
listed items. CS1 was then given pre-recorded buy money for the controlled buy.

29. Agents followed CS1 to the meet location. Approximately 25 minutes
later surveillance Agents advised they had observed a Hispanic male subject, later
identified as Ramirez Meneses, walking towards to CS1’s vehicle. Agents stated
Ramirez Meneses was seen driving a dark green over gold Kia minivan bearing Oregon
license plates 218JZD. Ramirez Meneses walked directly to CS1’s vehicle and entered
the front passenger seat. Approximately 5 minutes later Ramirez Meneses exited CS1’s
vehicle and walked directly back to the listed Kia minivan. With the assistance of the
vehicle GPS, Agents followed the listed Kia Mini Van. The Kia drove directly to a cul-
de-sac in Kent WA and was later observed parked into front of 11735 SE 225% Ct, Kent
WA.

30. Following the meet CS1 was followed to a pre-determined meet location.
Once at the meet location CS1 handed Agents a clear plastic bag containing suspected
methamphetamine, a small bag containing suspected heroin, and the remaining pre-
recorded buy money. Agents conducted a search of CS1’s vehicle and a search of CS1’s
person for narcotics, paraphernalia, weapons and currency. CS1’s person and vehicle
were free of the listed items. CS1 explained to Agents she/he met with the same
individual as the first controlled purchase. Agents later field tested the narcotics
purchased that day with positive results for methamphetamine. Again, the heroin was not
field tested due to its small quantity.

C. Identification of Ramirez Meneses

31, On April 11, 2019, Agents conducted surveillance on Ramirez Meneses,
aided by court authorized electronic tracking of the Kia minivan. At approximately 3:35
p.m. agents confirmed Ramirez Meneses was driving the Kia minivan when it was
located in Kent Washington. Surveillance units remained with the Kia minivan
throughout the duration of the surveillance. At approximately 6:00 p.m. electronic

tracking of the Kia minivan indicated it was traveling north on 515/405.

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32. At approximately 7:00 p.m., the Kia minivan stopped at a McDonalds
located at 4020 Colby Ave, Everett, Washington. Agents observed the Kia minivan
parked at the south end of the parking lot. At approximately 7:03 p.m., agents observed
an individual enter the front passenger seat of the Kia minivan and meet for a short period
with Ramirez Meneses. One-minute later agents observed the individual exit the minivan
and return to his vehicle, both vehicles then departed the area. Surveillance units
remained with the Kia minivan.

33. The Kia minivan was followed to the area of 607 SE Everett Mall Way,
Everett. Agents observed Ramirez Meneses meet a different individual outside of the Kia
minivan for a short time. The two engaged in conversation for several minutes. After
which, the parties separated with Ramirez Meneses entering the Mobil gas station then
returning to the Kia minivan and departing.

34, Agents contacted Seattle PD North Anti-Crime Team members to conduct a
traffic stop of the Kia minivan to identify Ramirez Meneses>. At approximately 7:40
p.m., members of Seattle PD North ACT conducted a traffic stop of the Kia minivan.
During the stop, Ramirez Meneses provided officers a Mexican Passport as a form of
identification. The passport identified the holder as Julio Cesar Ramirez Meneses, born in
1988 in Nayarit, Sinaloa.

35. Following the traffic stop physical surveillance was terminated for the
evening. Later that evening, CS1 was shown the photo on the Passport Ramirez Meneses
provided to officers. CS1 confirmed the individual in the photo (Ramirez Meneses) was
the individual he/she was buying narcotics from and known to CS1 as Caesar.

A. Third Controlled Purchase from Ramirez Meneses

36. In late April 2019, Agents met with (CS1) and instructed CS1 to contact

Ramirez Meneses via cellular telephone and attempt to arrange a purchase of

methamphetamine. CS1 called TT1 and placed the call on speaker so Agents could listen

 

° Until this point in the investigation Ramirez Meneses had been known only as "Caesar" and was not identified |

fully.
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and record the conversation. When CS1 first attempted the call, no one answered. Almost
immediately thereafter, Ramirez Meneses returned the call to CS1 using TT1.

37. Again, CS1 placed the call on speakerphone so Agents could listen and
record the conversation; the conversation occurred in Spanish. CS1 informed Agent s/he
discussed with Ramirez Meneses the opportunity to purchase methamphetamine and
where they would meet. After a brief conversation, CS1 and Ramirez Meneses agreed to
speak again in a moment. Approximately one minute later CS1 called Ramirez Meneses
on TT1 and placed the call on speakerphone so Agents could listen and record the
conversation; the conversation occurred in Spanish. During the call, the parties agreed to
meet at Northgate Mall. CS1 asked to purchase four ounces of methamphetamine and
was told by Ramirez Meneses it would cost $350.00. They agreed to speak again when
they were both near Northgate Mall.

38. That same date at approximately 11:03 a.m. Agents observed, via court
authorized GPS tracking and electronic surveillance, the Kia minivan was parked outside
11735 SE 225th Ct, Kent WA. Based on these observations Agents established
surveillance in Kent Washington near 11735 SE 225th Ct, Kent WA.

39. At approximately 11:42 a.m., Agents observed, via a camera, Ramirez
Meneses come from the area of the front door of 11735 SE 225th Ct, Kent WA, carrying
what appeared to be a small object in his left hand and enter the Kia minivan. Ramirez
Meneses was seen leaving 11735 SE 225th Ct, Kent WA in the Kia minivan. Shortly
thereafter, he was seen on camera returning home at approximately 11:46 a.m. and
walked towards the front entrance of 11735 SE 225th Ct, Kent WA. Surveillance Agents
had set up surveillance just outside the immediate neighborhood of the Kent residence
and did not see the Kia minivan leave the area. At 11:49 a.m. Agents observed Ramirez
Meneses exit the area of the front door of 11735 SE 225th Ct, Kent WA, carrying a
plastic bag, enter the Kia minivan and depart.

40. At approximately 12:24 p.m., CS1 was directed by Agents to contact

Ramirez Meneses. CS1 called Ramirez Meneses on TT1 and placed the call on

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speakerphone so Agents could listen and record the conversation; the conversation
occurred in Spanish. In summary, CS1 and Ramirez Meneses agreed to meet near the Red
Robin at Northgate Mall.

41. CSI] and her/his vehicle were searched for narcotics, paraphernalia,
currency and weapons. CS1 had currency, which was counted and secured in Det.
Spaulding's undercover vehicle. CS1 and her/his vehicle were otherwise free from the
listed items. CS1 was given pre-recorded buy money for the controlled buy. Agents
followed CS1 to the meet location.

42. At approximately 12:38 p.m., Agents observed the Kia minivan parked next
to CS1’s vehicle. Ramirez Meneses was observed by Agents exiting the Kia minivan and
entering the front passenger seat of CS1’s vehicle. Ramirez Meneses remained in the
vehicle for a short period. Ramirez Meneses exited CS1’s vehicle, returned to the Kia
minivan and departed the area.

43. CS1 was followed to a pre-determined meet location. Once at the meet
location, CS1 provided Agents a red electronic scale box containing suspected
methamphetamine (including the small sample discussed in the next paragraph) and the
remaining pre-recorded buy money. Agents conducted a search of CS1's vehicle and
Agents conducted a search of CS1's person for narcotics, paraphernalia, weapons and
currency. CS1's person and vehicle were free of the listed items.

44.  Insummary, CS1 informed Agents when Ramirez Meneses entered CS1’s
vehicle he showed the narcotics to CS1 and gave CS1 a small sample of additional
methamphetamine. While together, CS1 (at the direction of Agents) inquired about
purchasing an additional two (2) pounds of methamphetamine within the next hour from
Ramirez Meneses. Ramirez Meneses informed CS1 it would cost $2,600.00 a pound for
a total of $5,200.00. Ramirez Meneses further explained he had to go to Kent to pick up
the narcotics for CS1, however he first had to go to Kenmore to deliver a pound he
(Ramirez Meneses) had on him currently. The parties agreed to meet later and Ramirez

would call CS1 in about an hour.

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45. Utilizing GPS tracking and mobile surveillance the Kia minivan was
followed from Northgate Mall to a trailer park located at/near 7021 NE 181st St,
Kenmore, WA. The Kia minivan arrived at the trailer park at approximately 1:00 p.m. At
approximately 1:20 p.m., the Kia minivan departed the area of the trailer park. At about
the same time the Kia minivan departed, CS1 received a phone call from Ramirez
Meneses from TT1. In summary, Ramirez Meneses told CS1 the customer he was going
to meet was not ready and he (Ramirez Meneses) could deliver the one pound of
methamphetamine to CS1 now. CS1 told Ramirez Menses he/she needed both — as in
he/she needed the two pounds of methamphetamine together. Ramirez Meneses told CS1
he would have to go get the other pound and would meet CS1 back near the mall.

46. The Kia minivan was followed back to 11735 SE 225th Ct, Kent WA
where it arrived at approximately 2:15 p.m. Agents observed, via electronic surveillance,
Ramirez Meneses exit the Kia minivan and approach the front door of 11735 SE 225th
Ct, Kent WA. At approximately 2:20 p.m., at the direction of Agents, CS1 called
Ramirez Meneses on TT1 and placed the call on speakerphone so Agents could listen and
record the conversation; the conversation occurred in Spanish. During the call, CS1 stated
he/she had the money and was ready to meet. Ramirez Menses responded he was picking
up the narcotics right now and would get the car and meet CS1 at the mall. After the
conversation ended Ramirez Meneses sent CS1 a text message. The text message
contained a screen shot of a map from Ramirez Meneses' location to Northgate Mall.
From the photo, Agents were able to determine the “Your Location” was in the area of
Ramirez Meneses' residence.

47, At approximately 2:30 p.m., Agents observed Ramirez Meneses approach
the Kia minivan, carrying a red bag, from the front door area of 11735 SE 225th Ct, Kent
WA. Shortly thereafter, the Kia minivan departed from 11735 SE 225th Ct, Kent WA;

mobile surveillance was conducted on the Kia minivan.

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48. CSI was provided pre-recorded buy money for the controlled buy and was
followed to the meet location by Agents®. At approximately 3:39 p.m., Agents observed
the Kia minivan park next to CS1’s vehicle. Ramirez Meneses exited the Kia minivan
and entered CS1’s vehicle. Ramirez Meneses remained in the vehicle a short time, exited
CS1’s vehicle, and returned to the Kia minivan. As he was exiting, Agents observed
Ramirez Meneses holding a red bag similar to the one observed on electronic surveillance
as Ramirez Meneses was leaving 11735 SE 225th Ct, Kent WA. The Kia minivan
departed and was followed to a different area of Northgate Mall where it remained until
about 4:06 p.m.

49. CSI was followed to a pre-determined meet location. Once at the meet
location, CS1 provided Agents two clear Tupperware containers with red lids containing
suspected methamphetamine. Agents conducted a search of CS1’s vehicle and a search of
CS1's person for narcotics, paraphernalia, weapons and currency. CS1’s person and
vehicle were free of the listed items. Agents later field tested the all the narcotics
purchased that day with positive results for methamphetamine.

50. Insummary, CS1 informed Agents that Ramirez Meneses entered the
vehicle with a red bag. Ramirez Meneses opened the bag and produced three clear
Tupperware containers containing suspected methamphetamine and told CS1 to pick two.
CS1 provided the money to Ramirez Meneses who began to count it. After counting
approximately half the money Ramirez Meneses exited.

E. Fourth Controlled Purchase from Ramirez Meneses

51, On May 2, 2019, at approximately 9:00 a.m., Agents established

surveillance at 11735 SE 225th Ct, Kent Washington. Earlier that same day, utilizing

electronic surveillance, Agents observed a silver sedan parked where the aforementioned

 

° CS] and their vehicle was searched after the first controlled purchase on this date in April and CS1 remained with
Agents during the entirety of the operation. Therefore, it was deemed unnecessary to again search his/her person and
vehicle prior to conducting the second controlled purchase.

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Kia minivan, which had been previously utilized by Ramirez Meneses had parked. At
approximately 10:40 a.m., Agents identified the vehicle parked at the residence as a silver
Mazda 3 (TV1) with no visible registration. Simultaneously, Agents observed Ramirez
Meneses driving TV1 as it departed his residence. Agents attempted to conduct mobile
surveillance but were unable to do so.

52, On May 4, 2019, Agents met with a CS1 and instructed CS1 to contact
Ramirez Meneses via cellular telephone on TT1 to attempt to arrange a purchase of 25
grams of heroin. Prior to meeting with agents CS1 had received text messages from
Ramirez Meneses. In summary, Ramirez Meneses texted CS1 his/her order had arrived
and to tell him (Ramirez Meneses) where to meet and “I’m ready” or words to that effect.
CS1, at the direction of Agents, texted Ramirez Meneses to meet him/her near the Bank
of America at Northgate Mall at 2:30 p.m. that day. Ramirez Meneses responded “ok I’m
ready” or words to that effect. Simultaneously Agents established surveillance in the area
of the Bank of America at Northgate Mall in preparation for the deal.

53. Per procedure, CS] and her/his vehicle were searched for narcotics,
paraphernalia, currency and weapons. CS1 had currency, which was counted and secured
in Agents’ undercover vehicle. CS1 and her/his vehicle were free from the listed items.
CS1 was given pre-recorded buy money for the controlled buy. Agents followed CS1 to
the meet location.

54. At 2:20 p.m., Ramirez Meneses texted CS1 he was looking for the bank. At
approximately 2:22 p.m., Agents observed a Silver Mazda 3 (TV1) with no visible
registration in the parking lot of Bank of America. As TV1 drove by one of the
surveillance Agents, he was able to confirm that RAMIREZ Meneses was the diver of the
TV1. At approximately 2:26 p.m., Ramirez Meneses repositioned TV1 next to CS1’s
vehicle. Agents observed Ramirez Meneses exit TV1 and access the trunk. After
accessing the trunk, Ramirez Meneses was in possession of a white plastic bag that
appeared to have a box inside it. Ramirez Meneses entered CS1’s vehicle and CS1 moved

his/her vehicle to a different area of the parking lot as directed by Agents.

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55, While CS1 and Ramirez Meneses were in CS1’s vehicle, Agents were able
to photograph the VIN and Temporary license plate of TV1. The VIN of TV1 was
observed as JM1BL1VG9C1507151 and the temporary plate was E9693510. A DOL
inquiry showed the VIN registered to G&S Auto Sales Inc. out of Tacoma.

56. Shortly thereafter, Ramirez Meneses and CS1 returned to TV1. Ramirez
Meneses exited CS1’s vehicle and accessed the trunk of TV1:. Agents observed Ramirez
Meneses placing a white USPS or FedEx box into the trunk. Ramirez Meneses then
accessed the front passenger side of TV1 and removed a small item, placed it in his
pocket and returned to CS1’s vehicle. CS1 moved his/her vehicle to a different area of the
parking lot as directed by Agents. A short time later, CS1’s vehicle returned to TV1.
Ramirez Meneses entered TV1 and departed the area.

57, C81 was followed to a pre-determined meet location. Once at the meet
location CS1 provided Agents with a box containing suspected heroin. Per policy and
procedure, Agents conducted a search of CS1’s vehicle and a search of CS1’s person for
narcotics, paraphernalia, weapons and currency. CS1’s person and vehicle were free of
the listed items.

58.  Insummary, CS1 informed Agents Ramirez Meneses entered his/her
vehicle with a white postal box. Ramirez Meneses showed CS1 four cylindrical objects,
believed to be | kilogram each, of heroin inside the box. Ramirez Meneses unwrapped
one of the suspected kilograms of heroin to take a sample of heroin for CS1. While
Ramirez Meneses was unwrapping the kilogram, CS1 observed it was wrapped in what
he believed to be cellophane, grease, foil, x-ray paper, and petroleum jelly.? Once

Ramirez Meneses was finished showing the kilograms to CS1 the pair returned to TV1

 

7 | know, based on my training and experience, that wholesale amounts of heroin is often smuggled into the United
States packaged in this fashion, in the belief that it will defeat law enforcement detection by drug K9s and other
methods. ,

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so Ramirez Meneses could obtain a scale. Ramirez Meneses then broke off a piece of the
heroin and weighed it for CS1.

59. Based on my training and experience, tracking data, and my observations,
of Ramirez Meneses, the Kia minivan, and TV1; I believe Ramirez Meneses is currently

residing at 11735 SE 225™ Ct, Kent WA, and currently driving TV1 as a vehicle and

using TT1 to facilitate his narcotics trafficking activities.

60. Furthermore, based on my training and experience, and the training and
experience of other investigators more senior than I, I know it is common for narcotics
traffickers to utilize more than one phone. At times, narcotics traffickers will utilize
separate phones to keep communications with sources of supply and downstream
customers separate. I also know traffickers will often change phones for multiple reasons
which include attempts to frustrate law enforcement, and be able to quickly “drop” a
phone and still be able to communicate with members of their organization. Moreover, I
know it is common for drug traffickers, no matter their level or role in an organization, to
possess and utilize multiple phones to conduct illicit narcotics activities. Here, Ramirez
Meneses has already changed phone numbers once during this investigation, with that
change occurred in less than two weeks from the first communication made by CS1.
Additionally, the carrier for TT1 has also been changed during this investigation.

61. Inmy experience, drug traffickers frequently make use of cellular
telephones to arrange their drug transactions. These telephones are frequently pre-paid
cellular telephones. Drug traffickers frequently provide little or no identifying
information to the phone company. What information is provided is frequently false.
Drug traffickers often discontinue the use of these cellular telephones on a frequent basis
in order to thwart law enforcement efforts at detection.

62. Based on my training and experience I also know that narcotics traffickers
invariably require vehicles in the day to day operation of the distribution of narcotics and
disposition of the proceeds of narcotics. Further, I know that sophisticated traffickers

engage in activities to thwart law enforcement. This includes the use of counter-

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surveillance driving, as well as the frequent switching, or trading out of vehicles. During
my observations of this organization, including both physical and electronic surveillance,
I have observed traffickers make use of circuitous routes, unexplained stops, and other
actions consistent with counter-surveillance. I believe the description provided herein of
the use of TV1 by this DTO is consistent with the activities of narcotics traffickers’ use
of vehicles.

63. tis also my experience vehicle and telephone location data is useful in
corroborating movements of targets, especially suspected drug traffickers. When used in
conjunction with physical surveillance, telephone and vehicle location data is useful to
identify vehicles, locations, and individuals involved in ongoing drug trafficking
schemes. Additionally, telephone and vehicle location data can show that a target
telephone is used by a particular individual by connecting physical surveillance of that
individual with evidence of the vehicle and telephone’s use. Telephone and vehicle
location data therefore often provides evidence utilized in the seizure of narcotics and the
fruits and instrumentalities of narcotics trafficking.

64. Use of the vehicle tracking device and tracking the target telephone will
allow the affiant and surveillance team members to observe the target and his associates
in a safe manner while still developing investigative material. In that vein, the tracking
device will allow the affiant and other agents to monitor the movements of the target and
his associates for a period of time. This will continue to assist the affiant and other
investigators in identifying stash houses used to store currency, drugs, and other illegal
contraband, and to identify additional individuals involved in this ongoing criminal
activity.

V. AUTHORIZATION REQUEST FOR SPECIAL TECHNIQUE

65. Based on the foregoing, I request that the Court also issue the proposed
search warrant authorizing the use of the investigative technique described in Attachment
A, pursuant to Federal Rule of Criminal Procedure 41. The proposed search warrant also

will function as a pen register order under 18 U.S.C. § 3123.

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66. Again, I know, based on my training and experience, and the training and
experience of investigators more senior than I, that experienced and sophisticated drug
traffickers like Julio Cesar Ramirez Meneses use multiple cellular phones to conduct their
business, and often change phones in an attempt to frustrate law enforcement. While we
have identified phones for Ramirez Meneses, there is probable cause to believe that he is
also using one or more additional cellular phones to conduct his drug and/or money
laundering activities. Use of this technique will likely permit investigators to identify
these additional, currently unknown phones.

67. To facilitate execution of this warrant, law enforcement may use an
investigative device that sends signals to nearby cellular devices, including Target
Telephone A, and in reply, the nearby cellular devices will broadcast signals that include
their unique identifiers. The investigative device may function in some respects like a
cellular tower, except that it will not be connected to the cellular network and cannot be
used by a cell to communicate with others. Law enforcement will use this investigative
device when they have reason to believe that Ramirez Meneses is present. Law
enforcement will collect the identifiers emitted by cellular devices in the immediate
vicinity of the Target Telephone A when the subject is in multiple locations and/or
multiple times at a common location and use this information to identify Target
Telephone A as only the Target Telephone A’s unique identifiers will be present in all
or nearly all locations as Ramirez Meneses. Once investigators ascertain the identity of
the Target Telephone A, they will cease using the investigative technique. Because
there is probable cause to determine the identity of Target Telephone A there is probable
cause to use the investigative technique described by the warrant to determine the identity
of Target Telephone A .

68. The investigative device may interrupt cellular service of cellular devices
within its immediate vicinity. Any service disruption will be brief and temporary, and all
operations will attempt to limit interference with other cellular devices. Once law

enforcement has identified Target Telephone A it will delete all information concerning

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non-targeted cellular devices. Absent further order of the court, law enforcement will
make no investigative use of information concerning non-targeted cellular devices other
than to distinguish Target Telephone A from all other devices.

69. 1 further request that the Court authorize execution of the warrant at any
time of day or night, owing to the potential need to identify Target Telephone A outside
of daytime hours.

70. I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of
Criminal Procedure 41(£)(3), that the Court authorize the officer executing the warrant to
delay notice until 90 days after the collection authorized by the warrant has been
completed. This delay is justified because there is reasonable cause to believe that
providing immediate notification of the warrant may have an adverse result, as defined in
18 U.S.C. § 2705. Providing immediate notice to the person carrying Target Telephone
A would seriously jeopardize the ongoing investigation, as such as a disclosure would
give that person an opportunity to destroy evidence, change patterns of behavior, notify
confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). There is
reasonable necessity for the use of the technique described above, for the reasons set
forth above. See 18 U.S.C. § 3103a(b)(2).

71, I further request that the Court order that all papers in support of this
application, including the affidavit and search warrant, be sealed until further order of the
Court. These documents discuss an ongoing criminal investigation that is neither public
nor known to all the targets of this investigation. If prematurely disclosed to the public,
notice to the holder of Target Telephone A could result in the target’s flight from
prosecution, destruction of or tampering with evidence, intimidation or retaliation against
potential witnesses, and could otherwise seriously jeopardize the ongoing investigation.
Accordingly, there is good cause to seal these documents because their premature

disclosure may seriously jeopardize the investigation.

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72. A search warrant may not be legally necessary to compel the investigative
technique described herein. Nevertheless, I hereby submit this warrant application out of
an abundance of caution.

VI. REQUEST FOR SEALING

73. Based upon my knowledge, training, and experience, it is my belief that the
information contained in this affidavit, application, and tracking warrant, if prematurely
disclosed to the public, could result in the target’s flight from prosecution, destruction of
or tampering with evidence, intimidation or retaliation against potential witnesses, and
could otherwise seriously jeopardize the ongoing investigation. Therefore, I request that
this affidavit be sealed, and that notice required by Fed. R. Crim. P. 41(f) be delayed for
up to ninety (90) days after expiration of the tracking warrant, or any extension thereof,
in accordance with Title 18, United States Code 3103a(b). If necessary, I may request
that the Court, upon a showing of good cause, order a further adjournment of the time
permitted to serve notice, if necessary to protect the safety of any individual, avoid flight
or destruction of evidence, and ensure that the investigation is not jeopardized prior to its

completion.

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Kevin Palermo
Special Agent
Drug Enforcement Administration

 

SUBSCRIBED AND SWORN before me this | uf day of May, 2019.

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THE HON. MICHELLE L. PETERSON
United States Magistrate Judge

 

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